         Case 1-17-45570-nhl           Doc 152        Filed 04/09/19        Entered 04/09/19 18:02:56




ARCHER & GREINER, P.C.                                                     Hearing Date: April 10, 2019
630 Third Avenue                                                           Hearing Time: 10:30 a.m.
New York, New York 10017
Tel: (212) 682-4940
Allen G. Kadish
Harrison H.D. Breakstone
Email: akadish@archerlaw.com
        hbreakstone@archerlaw.com

Counsel for Voras Enterprise Inc.,
Debtor and Debtor-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------x

In re:                                                                      Chapter 11

VORAS ENTERPRISE INC.,                                                      Case No. 1-17-45570 (NHL)

                 Debtor.

----------------------------------------------------------x

                   DECLARATION OF JEFFREY E. DUNSTON IN FURTHER
               SUPPORT OF CONFIRMATION OF AMENDED CHAPTER 11 PLAN

          JEFFREY E. DUNSTON, declares as follows:

          1.       I am over 21 years of age and fully competent to make this declaration. Unless

otherwise stated, I have personal knowledge of the facts set forth in this affidavit. I make this

declaration under penalty of perjury consistent with 28 U.S.C. § 1746.

          2.       I am the Chief Executive Officer of Voras Enterprise Inc. (the “Debtor” or

“Voras”), a New York not-for-profit corporation.

          3.       I am acting herein on behalf of the Debtor, and I submit this declaration in further

support of final approval of the Amended Disclosure Statement and confirmation of the Debtor’s

Amended Chapter 11 Plan, dated June 19, 2018 (the “Plan”) [Docket No. 110]. 1

          4.       On July 24, 2018, the Debtor filed the Declaration of Jeffrey E. Dunston in


1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Plan.
     Case 1-17-45570-nhl       Doc 152      Filed 04/09/19    Entered 04/09/19 18:02:56




Support of Confirmation of Amended Chapter 11 Plan [Docket No. 118]. The contents of that

declaration are reaffirmed and supplemented as follows.

       5.      On July 10, 2018, Sperber, Denenberg & Kahan, P.C., the Debtor’s special real

estate counsel, submitted a petition for approval of the Sale to the New York Attorney General.

The petition was approved on December 14, 2018. See Exhibit A.

       6.      As of the last hearing before the Court, three issues remained unresolved

regarding confirmation of the Debtor’s Plan and consummation of the Debtor’s Case. Those

issues were:

               (i) the Objection of the Office of the United States Trustee filed
               January 7, 2019 [Docket No. 140];

               (ii) the ongoing negotiations between the Purchaser and Brooklyn
               Legal Services Corporation A, as set forth in the letter filed by
               counsel for the Purchaser on January 9, 2019 [Docket No. 141];
               and

               (iii) the request by the Purchaser for the provision of an extension
               of the closing date beyond the terms provided for in the Contract of
               Sale.

       7.      The Objection of the Office of the United States Trustee has been addressed in the

Debtor’s Response filed herewith.

       8.      The negotiations between the Purchaser and a tenant, Brooklyn Legal Services

Corporation A, are the subject of continuing negotiations which will be memorialized and set

forth in the final Confirmation Order. The form of proposed Confirmation Order is being

negotiated among the constituents with the goal of submission of an agreed form of order.

       9.      I believe the Debtor will be able to meet all its obligations under the Plan. The

expected sources and uses of the Implementation Funds are set forth on Exhibit B.

       10.     Attached as Exhibit C is a copy of the current claims register maintained by the




                                                2
      Case 1-17-45570-nhl         Doc 152     Filed 04/09/19      Entered 04/09/19 18:02:56




Court.

         11.    I maintain that the terms of the Plan are fair to all Creditors, in full compliance

with the requirements of the Bankruptcy Code, and consistent with the mission and purpose of

the Debtor and NEB. Therefore, I respectfully request that the Court confirm the Plan.

         I declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
       April 9, 2019
                                                       Jeffrey E. Dunston




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                                                   3
Case 1-17-45570-nhl    Doc 152    Filed 04/09/19   Entered 04/09/19 18:02:56




                              Index to Exhibits

                      A – Approval of the New York Attorney General
                      B – Sources and Uses
                      C – Claims Register
Case 1-17-45570-nhl   Doc 152   Filed 04/09/19   Entered 04/09/19 18:02:56




                                Exhibit A
                Approval of the New York Attorney General
Case 1-17-45570-nhl   Doc 152   Filed 04/09/19   Entered 04/09/19 18:02:56
Case 1-17-45570-nhl   Doc 152   Filed 04/09/19   Entered 04/09/19 18:02:56
Case 1-17-45570-nhl   Doc 152   Filed 04/09/19   Entered 04/09/19 18:02:56




                                Exhibit B
                            Sources and Uses
                                                             Case 1-17-45570-nhl              Doc 152         Filed 04/09/19                   Entered 04/09/19 18:02:56




                            In re Voras Enterprise Inc. Chapter 11 Case No. 17-45570
                        Schedule of Claims/Proposed Uses on Sale (Estimates/Assumptions)                                                                                              DRAFT
                                   SOURCES
Implementation Funds (per Contract of Sale and Plan)
[Purchase Price + Charitable Contribution = $12 Million]                                                                                                                            $12,000,000.00

Extension Fee                                                                                                                                                                         $40,000.00

                                                                                                                                                                                    $12,040,000.00



                                       USES                                        Projected as of March 31   Projected as of April 30, 2019   Projected as of May 31, 2019   Projected as of June 30, 2019
Pre-Petition Tax Certificates held by MTAG Services, LLC                                 $241,444.48                  $245,042.56                      $248,694.26                    $252,395.83
Pre–Petition Mechanics Lien held by New York Design Architects, LLP                       $47,804.46                   $47,854.24                      $47,904.07                     $48,203.47
New York City Water Board [New York City Department of Environmental Protection]          $42,422.41                   $44,591.81                      $47,106.41                     $47,341.85
New York City Office of Administrative Trials and Hearings                                 $6,607.98                    $6,657.52                       $6,707.43                      $6,757.72
New York City Department of Finance (Property Taxes Assessed Semi-Annually)              $107,527.39                  $107,531.95                      $107,536.51                    $210,290.86
Fire Department Summons                                                                   $29,817.19                   $29,848.24                      $29,879.32                     $29,910.43
124 NY Inc Payoff Amount                                                                $8,583,834.08                $8,583,834.08                    $8,583,834.08                  $8,583,834.08

Office of the U.S. Trustee Fee                                                          $115,400.00                   $115,500.00                     $115,600.00                     $116,700.00
Archer & Greiner, P.C. (Counsel)                                                        $715,000.00                   $715,000.00                     $725,000.00                     $725,000.00
Keen-Summit Capital Partners Real Estate Advisory Fee (5% of $12,000,000.00)            $577,012.32                   $577,356.36                     $578,220.30                     $583,672.86
Sperber Denenberg & Kahan, P.C. (Special Real Estate Counsel)                            $20,000.00                    $20,000.00                      $20,000.00                      $20,000.00

IRS                                                                                      $13,417.90                    $13,431.87                      $13,445.86                     $13,459.86

Con Ed                                                                                   $56,141.91                    $56,200.37                      $56,258.89                     $56,317.47
Imperial Fire Protection Systems                                                         $22,203.39                    $22,226.51                      $22,249.65                     $22,272.82
                                                           PROJECTED SUBTOTAL =        $10,578,633.51                $10,585,075.51                  $10,602,436.78                 $10,716,157.25

NEB                                                                                     $938,625.18                   $939,407.95                     $940,189.58                    $940,972.76
                                                              PROJECTED TOTAL =        $11,517,258.69                $11,524,483.46                  $11,542,626.36                 $11,657,130.01

                              PROJECTED ALLOWED CLAIMS; ALL RIGHTS RESERVED; ALL NUMBERS ARE ESTIMATES SUBJECT TO VERIFICATION AND RECONCILIATION AS OF CLOSING.
Case 1-17-45570-nhl   Doc 152   Filed 04/09/19   Entered 04/09/19 18:02:56




                                Exhibit C
                            Claims Register
               Case 1-17-45570-nhl        Doc 152      Filed 04/09/19      Entered 04/09/19 18:02:56

                                    Eastern District of New York
                                          Claims Register
                                      1-17-45570-nhl Voras Enterprise Inc.

                       Judge: Nancy Hershey Lord          Chapter: 11
                       Office: Brooklyn                   Last Date to file claims: 03/09/2018
                       Trustee:                           Last Date to file (Govt): 04/24/2018
Creditor:      (9125622)                      Claim No: 1                  Status:
Internal Revenue Service                      Original Filed               Filed by: CR
Centralized Insolvency Operations             Date: 11/17/2017             Entered by: Lynn R Sexton
PO Box 7346                                   Original Entered             Modified:
Philadelphia PA 19101-7346                    Date: 11/17/2017
                                              Last Amendment
                                              Filed: 02/05/2019
                                              Last Amendment
                                              Entered: 02/05/2019
 Amount claimed: $15528.00
 Secured claimed:          $0.00
 Priority   claimed: $15528.00

History:
Details        1-1   11/17/2017 Claim #1 filed by Internal Revenue Service, Amount claimed: $12860.00 (Sexton, Lynn)
Details        1-2   01/25/2018 Amended Claim #1 filed by Internal Revenue Service, Amount claimed: $11860.00
                                (Sexton, Lynn)
Details        1-3   02/05/2019 Amended Claim #1 filed by Internal Revenue Service, Amount claimed: $15528.00
                                (Sexton, Lynn)
Description:
Remarks:


Creditor:   (9147462)                         Claim No: 2                  Status:
CONSLIDATED EDISON COMPANY OF                 Original Filed               Filed by: CR
NEW YORK, INC                                 Date: 11/28/2017             Entered by: Wendy Moya
BANKRUPTCY GROUP                              Original Entered             Modified:
4 IRVING PLACE, ROOM 1875-S                   Date: 11/28/2017
NEW YORK, NY 10003
 Amount claimed: $55156.20

History:
Details        2-1   11/28/2017 Claim #2 filed by CONSLIDATED EDISON COMPANY OF NEW YORK, INC, Amount
                                claimed: $55156.20 (Moya, Wendy)
Description:
Remarks:


Creditor:      (9155174)                      Claim No: 3                  Status:
124 NY Inc.                                   Original Filed               Filed by: CR
                                              Date: 12/05/2017
               Case 1-17-45570-nhl         Doc 152      Filed 04/09/19      Entered 04/09/19 18:02:56

124-19 Metropolitan Avenue                    Original Entered               Entered by: Ronald M Terenzi
Kew Gardens, NY 11415                         Date: 12/05/2017               Modified:


 Amount claimed: $7491288.33
 Secured claimed: $7491288.33

History:
Details        3-1   12/05/2017 Claim #3 filed by 124 NY Inc., Amount claimed: $7491288.33 (Terenzi, Ronald)
Description:
Remarks:


Creditor:     (9181389)                       Claim No: 4                    Status:
New York City Water Board                     Original Filed                 Filed by: CR
Andrew Rettig                                 Date: 01/22/2018               Entered by:
Assistant Counsel                             Original Entered               Modified:
59-17 Junction Boulevard                      Date: 01/22/2018
Elmhurst, NY 11373-5108
 Amount claimed: $35239.34
 Secured claimed: $35239.34

History:
Details        4-1   01/22/2018 Claim #4 filed by New York City Water Board, Amount claimed: $35239.34 (admin)
Description:
Remarks: (4-1) Account Number (last 4 digits):8001


Creditor:     (9182994)                       Claim No: 5                    Status:
NYC Office of Administrative Trials and       Original Filed                 Filed by: CR
Hearings                                      Date: 01/24/2018               Entered by:
100 Church Street, 12th Fl.                   Original Entered               Modified:
New York, NY 10007                            Date: 01/24/2018


 Amount claimed: $5320.64
 Secured claimed: $5320.64

History:
Details        5-1   01/24/2018 Claim #5 filed by NYC Office of Administrative Trials and Hearings, Amount claimed:
                                $5320.64 (admin)
Description:
Remarks:


Creditor:       (9125636)   History           Claim No: 6                    Status:
NYC Dept of Finance                           Original Filed                 Filed by: CR
Attn: Legal Affairs                           Date: 01/25/2018               Entered by: tmg
345 Adams St 3rd Floor                        Original Entered               Modified:
Brooklyn NY 11201                             Date: 01/25/2018




History:
Details        6-1   01/25/2018 Claim #6 filed by NYC Dept of Finance, Amount claimed: $95434.75 (tmg)
Description: (6-1) Administrative Expense Claim
Remarks:
               Case 1-17-45570-nhl          Doc 152     Filed 04/09/19      Entered 04/09/19 18:02:56

 Amount claimed: $95434.75
 Priority claimed: $95434.75

History:
Details        6-1   01/25/2018 Claim #6 filed by NYC Dept of Finance, Amount claimed: $95434.75 (tmg)
Description: (6-1) Administrative Expense Claim
Remarks:


Creditor:      (9199911)                      Claim No: 7                    Status:
Imperial Fire Protection System, Inc.         Original Filed                 Filed by: CR
50-14 39th Street                             Date: 02/21/2018               Entered by: cns
Long Island City, NY 11104                    Original Entered               Modified:
                                              Date: 02/22/2018


 Amount claimed: $21813.47

History:
Details        7-1   02/21/2018 Claim #7 filed by Imperial Fire Protection System, Inc., Amount claimed: $21813.47 (cns)
Description:
Remarks:


Creditor:    (9204937)                        Claim No: 8                    Status:
New York Design Architects, LLP               Original Filed                 Filed by: CR
175 West Broadway                             Date: 02/28/2018               Entered by: Anthony DeGuerre
New York, NY 10013                            Original Entered               Modified:
212-680-0140                                  Date: 02/28/2018


 Amount claimed: $47165.18
 Secured claimed: $47165.18

History:
Details        8-1   02/28/2018 Claim #8 filed by New York Design Architects, LLP, Amount claimed: $47165.18
                                (DeGuerre, Anthony)
Description: (8-1) Architectural Services
Remarks:


Creditor:     (9211982)                       Claim No: 9                    Status:
Brooklyn Legal Services Corp. A               Original Filed                 Filed by: CR
260 Broadway                                  Date: 03/09/2018               Entered by: Daniel A Lowenthal
Brooklyn, NY 11211                            Original Entered               Modified:
                                              Date: 03/09/2018


 Amount claimed: $47038.32

History:
Details        9-1   03/09/2018 Claim #9 filed by Brooklyn Legal Services Corp. A, Amount claimed: $47038.32
                                (Lowenthal, Daniel)
Description: (9-1) Proof of Claim with Addendum to Proof of Claim of Brooklyn Legal Services Corp. A Against Voras
Enterprises Inc.
Remarks:
               Case 1-17-45570-nhl           Doc 152       Filed 04/09/19      Entered 04/09/19 18:02:56

Creditor:     (9212422)                         Claim No: 10                    Status:
NEBHDCo                                         Original Filed                  Filed by: CR
132 Ralph Avenue                                Date: 03/09/2018                Entered by: Jacqueline Handel
Brooklyn, NY 11233                              Original Entered                Modified:
718-453-9490                                    Date: 03/09/2018
                                                Last Amendment
                                                Filed: 03/09/2018
                                                Last Amendment
                                                Entered: 03/09/2018
 Amount claimed: $922280.48

History:
Details        10-1 03/09/2018 Claim #10 filed by NEBHDCo, Amount claimed: $92220.48 (Handel, Jacqueline)
Details        10-2 03/09/2018 Amended Claim #10 filed by NEBHDCo, Amount claimed: $922280.48 (Handel,
                               Jacqueline)
Description:
Remarks: (10-2) Prior Claim Amount Was Inadvertently Incorrectly Entered



                                             Claims Register Summary
                                             Case Name: Voras Enterprise Inc.
                                              Case Number: 1-17-45570-nhl
                                                       Chapter: 11
                                                  Date Filed: 10/26/2017
                                              Total Number Of Claims: 10

                                       Total Amount Claimed* $8736264.71
                                       Total Amount Allowed*
                                          *Includes general unsecured claims

    The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                               Claimed Allowed
                                       Secured              $7579013.49
                                       Priority              $110962.75
                                       Administrative



                                                PACER Service Center
                                                   Transaction Receipt
                                                     04/09/2019 17:18:47
                            PACER                                     Client
                                         ag001999:5735929:4681322
                            Login:                                    Code:
                                                                                1-17-45570-nhl
                                                                                Filed or Entered
                                                                      Search
                            Description: Claims Register                        From: 3/20/2000
                                                                      Criteria:
                                                                                Filed or Entered
                                                                                To: 12/31/2019
                            Billable     2                            Cost:     0.20
Case 1-17-45570-nhl   Doc 152   Filed 04/09/19   Entered 04/09/19 18:02:56

          Pages:
